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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA


BROIDY CAPITAL MANAGEMENT, LLC and
ELLIOTT BROIDY,                                        Case No. 19-cv-00150-DLF

                                 Plaintiffs,

                          v.

NICHOLAS D. MUZIN, JOSEPH ALLAHAM,
GREGORY HOWARD, STONINGTON
STRATEGIES, LLC,

                                 Defendants.



MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL
        DEFENDANTS TO ANSWER DISCOVERY REQUESTS




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Dated: January 24, 2022
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       Plaintiffs Broidy Capital Management, LLC and Elliot Broidy respectfully submit this

memorandum of law in support of their motion, pursuant to Rule 37 of the Federal Rules of

Civil Procedure, to compel Defendants Nicolas D. Muzin, Joseph Allaham, Gregory Howard,

and Stonington Strategies, LLC, to produce discovery in response to Plaintiff’s requests.1

                                PRELIMINARY STATEMENT

       This motion to compel discovery is necessitated by Defendants’ blanket objections to

Plaintiffs’ discovery requests, based on what they claim is the State of Qatar’s sovereign

immunity.

       Defendants, all private U.S. citizens, are public relations flacks and lobbyists hired and

paid millions of dollars by the State of Qatar to launch an unprecedented and shocking attack on

another U.S. citizen — including by hacking and disseminating his personal and confidential

information — all in retaliation for his First Amendment-protected activities publicizing and

opposing Qatar’s extensive funding of extremist terrorist and terrorist-supporting groups.

       In their objections to Plaintiffs’ discovery requests, Defendants claim virtual immunity

from discovery, including immunity from producing documents in their possession, custody or

control, concerning their egregious activities. Citing the Vienna Conventions on Diplomatic

Relations (“VCDR”) and on Consular Relations (“VCCR”),2 “principles of international

comity,” and several sovereign immunity cases having nothing to do with whether U.S. citizens

must produce documents in their possession, Defendants seek the functional equivalent of the



1
 “Brownstein Decl. Ex. __” refers to the exhibits attached to the Declaration of Henry B.
Brownstein, dated January 24, 2022 that Plaintiffs have filed in support of their motion.
2
  The 1961 Vienna Convention on Diplomatic Relations and the 1963 Vienna Convention on
Consular Relations are the treaties that form the core of international diplomatic and consular
law governing the treatment of diplomats and consulates, as well as the archives of embassies
and consulates.
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sovereign immunity this Court and the Court of Appeals have expressly held in this action they

are not entitled to.3

        Defendants’ objections are frivolous. They are flatly, indeed brazenly, contrary to not

only the decisions of this Court and the Court of Appeals rejecting Defendants’ invocation of

Qatar’s sovereign immunity, but to every other relevant authority, including: the 2018 decision

of the U.S. District Court for the Southern District of New York (“S.D.N.Y. decision”) holding

that Defendant Allaham was not permitted to withhold documents under the Vienna

Conventions, as he and the other Defendants seek to do here; Congress’s 2002 decision to reject

Saudi Arabia’s objections under the Vienna Conventions to that country’s U.S. advisors

producing documents in connection with a Congressional investigation; the plain and

unequivocal intent of Congress in ratifying the Vienna Conventions and enacting the Foreign

Agents Registration Act (“FARA”), a statute that requires disclosure of many of the same kinds

of documents Defendants seek to withhold here; and the views of the foremost scholar on the

Vienna Conventions whom Defendants themselves have cited.

        The S.D.N.Y. decision is directly on point. There, the court held that neither the Vienna

Conventions nor the Foreign Sovereign Immunities Act (“FSIA”) shielded Qatar-related



3
 Defendants’ baseless objections pervade their responses to nearly all of Plaintiffs’ discovery
requests. See, e.g., Brownstein Decl., Ex. 1 [Defendant Howard’s Responses and Objections to
Plaintiffs’ First Requests for Production], General Objection No. 6 at p. 3 (“Howard will not
provide documents or information subject to” Qatar’s “privileges, immunities, and protections
provided under the Vienna Conventions [] and principles of international comity”); Ex. 4
[Defendant Muzin’s Responses and Objections to Plaintiffs’ First Requests for Production],
General Objections D and E at p. 2 (same); Ex. 7 [Defendant Allaham’s Responses and
Objections to Plaintiffs’ First Requests for Production], General Objection Nos. 7-8 at p. 3-4
(same); Ex. 8 [Defendant Allaham’s Responses and Objections to Plaintiffs’ First Requests for
Admission, (making the same general objections, and stating in response to 23 of the 28 requests
for admission that “Allaham will not disclose information regarding his authorized activity for
Qatar between August 2017 to July 2018.”); see generally id., Exs. 1-9.

                                                 2
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documents in the hands of a third party (Allaham) from discovery. Over the objections of

Allaham and Qatar, the court compelled Allaham, then a non-party to a related California action

between the parties, Broidy Cap. Mgmt., LLC v. Qatar, No. 2:18-cv-02421 (the “California

Litigation”), to comply with a subpoena seeking production of many of the same types of

materials – without first allowing Qatar to review them – that Defendants here claim the right to

withhold. Order, Broidy Cap. Mgmt. v. Allaham, No. 1:18-mc-00240, ECF No. 4 at 2 (S.D.N.Y.

June 11, 2018).4 (Brownstein Decl. Ex. 10.)

         The S.D.N.Y. decision was unequivocal, and had reason to be, because no court has ever

held that the Vienna Conventions or vague considerations of “international comity” provide

American public-relations flacks and lobbyists working for foreign governments immunity from

any kind of discovery – let alone the complete immunity Defendants’ claim applies to all

materials and information stemming from their lucrative efforts on behalf of Qatar.

         Congress has also made clear that the law is precisely the opposite. In 2002, Congress,

over the objection of Saudi Arabia and its American public-relations flacks and lobbyists,

required them to produce for a Congressional investigation “archives and documents held by

professional consultants to a diplomatic mission,” confirming that the VCDR does not shield

documents in the hands of third-party advisors to foreign countries.5 See ECF No. 92-3 (“Denza

Chapter”) at 161-62.


4
  Defendants have repeatedly asked this Court to adopt the California Protective Order – which,
as shown in Plaintiffs’ pending motion for reconsideration, conflicts with the law in this Circuit –
because the “exact same issues – indeed, some of the exact same documents and information –
[in the California action] are at issue here.” ECF No. 90-1 at 2. See also, e.g., ECF No. 105
(“[T]he history of this case demonstrates that documents and information…will be produced
requiring protection, as the Central District of California determined.”). But now Defendants
seek to assert objections emphatically rejected by the S.D.N.Y. decision – an order that, unlike
the California Protective Order, was entered with an opinion.
5
    The operative language in the VCDR and the VCCR is the same.

                                                 3
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       Congress’s position in the Saudi Arabia matter was supported at the time by a submission

from Professor Eileen Denza,6 the author of the textbook on the VCDR – the authority

Defendants have incorrectly cited in purported support of their position. See ECF No. 90-1 at 13

n.9. As Plaintiffs have previously shown, Defendants grossly misrepresented Professor Denza’s

position, which in fact accords with Plaintiffs’ position. See ECF No. 92 at 4 n.5, 23-24; ECF

No. 92-3. In addition to the case involving Congress and Saudi Arabia, Professor Denza cites in

her textbook a leading British case, Shearson Lehman Bros Inc. v. Maclaine, Watson and Co

Ltd; International Tin Council (Intervener) (No 2) [1988] 1 All ER 116, 124-25 (Eng.)

(Brownstein Decl. Ex. 14) in which the UK House of Lords unanimously found that documents

that the International Tin Council (an international association of tin-producing countries) shared

with third parties were not protected, even though UK legislation had provided the Tin Council

with “the like inviolability of ofﬁcial archives as was accorded in respect of those of a diplomatic

mission.” See ECF No. 92-3 (Denza Chapter) at 161. Professor Denza concluded that the House

of Lords’ find thus is “equally relevant to the case of archives and documents of a diplomatic

mission.” Id.

       All Defendants were, at various points during the relevant time period, foreign (non-

diplomatic) agents of Qatar, registered (and sometimes improperly unregistered) under FARA.

FAC ¶¶ 14-18. Agency under FARA does not provide Defendants or their documents protection

from discovery. To the contrary, FARA expressly requires extensive public disclosures by

Americans acting on behalf of foreign governments. Under FARA, for example, all registrants

must keep and preserve, among other things, “correspondence, memoranda, cables, telegrams,


6
 See Investigation into Abductions of American Children to Saudi Arabia: Hearing Before the
H. Comm. on Govt. Reform, 107th Cong. 1326 (2002) (statement of Professor Eileen Denza).
(Brownstein Decl., Ex. 11.)

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teletype messages, and other written communications to and from all foreign principals and all

other persons, relating to the registrant’s activities on behalf of, or in the interest of any of his

foreign principals.” 28 C.F.R. § 5.500(a)(1) (emphasis added).7 All of these records “shall be

open at all reasonable times to the inspection of any official charged with the enforcement of”

FARA. 22 U.S.C. § 615.

         As shown further below, the U.S. government has always understood the Vienna

Conventions and FARA to cover entirely distinct groups of people and different types of

documents. The VCDR, which was signed in 1961 and ratified by the U.S. Senate in 1965,8

extends protections to diplomatic agents of foreign governments, as well as some more limited

protections to foreign nationals who are employed by a diplomatic mission in other capacities.

The VCDR (along with the VCCR, which was ratified in 1969) has no application to American

citizens who, like Defendants, choose to sell their public-relations/lobbying services to help

foreign governments interfere in U.S. politics. In fact, Article 41 of the VCDR states that

persons covered by the VCDR “have a duty not to interfere in the internal affairs of that State,”

and Article 42 provides that “[a] diplomatic agent shall not in the receiving state practice for

personal profit any professional or commercial activity.” VCDR at Art. 41-42. FARA, as

Congress made clear to Saudi Arabia, does not shield foreign governments’ public-relations

flacks and lobbyists from public scrutiny:

         [FARA] makes clear that the activities of such “propagandists,” including the
         documents they generate, send and receive in the course of those activities, are to
         be subject to the “spotlight of pitiless publicity” so that the American people may
         be fully informed of both the identity of the propagandists and the nature of the
         activities they undertake on behalf of their foreign masters. It is ludicrous to

7
 The registrant must also keep “[a]ll correspondence, memoranda,…other written
communications to and from” anyone else which “relat[e] to political activity on the part of any
of the registrant’s foreign principals.” 28 C.F.R. § 5.500(a)(2).
8
    The VCCR was signed in 1963 and ratified by the U.S. Senate in 1969.

                                                   5
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       suggest, as you and your lawyers do, that when the United States ratified the Vienna
       Convention some 25 years after the enactment of FARA, it intended to shroud in
       absolute secrecy the very same activities of these propagandists.

Brownstein Decl. Ex. 12, U.S. House Committee on Government Reform, Letter from Dan

Burton, Chairman to Prince Bandar bin Sultan bin Abdulaziz, November 21, 2002

(“Congressional Letter”) (quoting H.R. REP. No. 1381, 75th Cong., 1st Sess. 1-2 (1937)). In

fact, if Congress saw any conflicts between FARA and the VCDR, it would have addressed and

resolved those conflicts. The same Senate Foreign Relations Committee in 1965 both

unanimously overhauled FARA into its modern structure and unanimously ratified the VCDR.

       In short, there is no good faith argument that American public relations flacks and

lobbyists are entitled to withhold relevant materials in their possession based on the protections

the Vienna Conventions afford only to the very limited set of diplomatic agents and genuine

diplomatic/consular documents. Nor do vague, unsupported assertions of “international comity”

provide Defendants with any kind of right to withhold documents. Rather, as Congress

recognized in 1937, and as confirmed on numerous occasions including in 2002 with respect to

Saudi Arabia, Defendants’ “propagand[a]” and other efforts on behalf of Qatar are

unquestionably subject to disclosure requirements, including discovery in civil lawsuits.”

Congressional Letter.

       This is not the first time that Defendants have attempted to cloak themselves in the

“privileges and immunities” of the State of Qatar. They previously claimed entitlement to

derivative sovereign immunity in order to try to escape this litigation altogether. This Court and

the Court of Appeals both rejected that attempt, with the latter explaining that Defendants “failed

to establish that any foreign official immunity shields them from further proceedings and

ultimate liability.” Broidy Cap. Mgmt. LLC v. Muzin, 12 F.4th 789, 792 (D.C. Cir. 2021). But



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by claiming the right to withhold, ostensibly on Qatar’s behalf, massive swaths of the

information most relevant to this case, Plaintiffs are now trying to achieve the functional

equivalent of the “foreign official immunity” that the Court of Appeals and this Court held they

do not have. Defendants’ attempted workaround by asserting meritless objections to discovery

must be rejected, and they must be compelled to produce any and all information they are

withholding on the basis of the Vienna Conventions, “principles of international comity” or any

other baseless and non-existent protections they assert.



                                        BACKGROUND

       In 2018, in connection with the case in the Central District of California, the California

Litigation, Broidy issued a subpoena in the Southern District of New York on Allaham, who was

not then a party to the California Litigation. Allaham did not respond, and then Allaham and

Qatar both opposed Broidy’s motion to compel filed in the Southern District of New York. The

S.D.N.Y. Court held that “neither the FSIA nor the Vienna Conventions protect [Qatar] from

civil discovery collected from [Allaham]”, and it ordered Allaham to immediately produce

documents, while rejecting Qatar’s request to first screen pre-screen Allaham’s production. See

Order, Broidy Cap. Mgmt. v. Allaham, No. 1:18-mc-00240, ECF No. 4 at 2 (S.D.N.Y. June 11,

2018) (Brownstein Decl. Ex. 10.)

       This Court has already concluded multiple times that the Defendants are not entitled to

invoke Qatar’s “privileges and immunities” just because they have at various times been

American public-relations flacks and lobbyists on behalf of Qatar. See, e.g., ECF No. 51 at 10-

17.




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       The Court held that Defendants are not entitled to invoke foreign sovereign immunity,

based either on their status or on what they were doing. “Status-based immunity is reserved for

diplomats and heads of state and attaches regardless of the substance of the claim.” Lewis v.

Mutond, 918 F.3d 142, 145 (D.C. Cir. 2019) (internal quotation omitted). Defendants are not,

and of course do not claim to be, either Qatari diplomats or Qatari heads of state. Conduct-based

immunity “is afforded to any public minister, official, or agent of the state with respect to acts

performed in his official capacity if the effect of exercising jurisdiction would be to enforce a

rule of law against the state.” Id. (internal quotation omitted) (alterations adopted). This Court

held that Defendants are not entitled to conduct-based immunity, because, among other things,

holding these U.S. citizens accountable for their misconduct would not constitute “enforce[ing] a

rule of law against the [foreign] state.” ECF No. 51. In affirming, the Court of Appeals held that

Defendants “have failed to establish that any foreign official immunity shields them from further

proceedings and ultimate liability.” Muzin, 12 F.4th at 792.

       In November 2021, Plaintiffs served their first sets of discovery requests, including

Interrogatories, Requests for Production, and Requests for Admission, on each of the

Defendants. All Defendants’ responses to each of Plaintiffs’ discovery requests included general

objections on the basis that materials sought were protected by the Vienna Conventions and

principles of international comity. For example, Defendant Allaham’s responded in part with the

following two general objections to Plaintiffs’ requests for production:

       7. Allaham objects generally to the Requests to the extent they seek information
       that is subject to protection under the Vienna Convention on Diplomatic Relations
       and/or the Vienna Convention on Consular Relations. Discovery materials are
       absolutely protected from disclosure under the Vienna Conventions, which provide
       that the documents and information of a diplomatic mission are “inviolable at any
       time and wherever they may be.” Vienna Convention on Diplomatic Relations, art.
       24, Apr. 18, 1961, 23 U.S.T. 3227, 500 U.N.T.S. 95, 108; see also Vienna
       Convention on Consular Relations and Optional Protocol on Disputes, art. 33, Apr.

                                                  8
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       24, 1963, 21 U.S.T. 77, 596 U.N.T.S. 261, 289 (providing the same inviolability
       for consular archives). The Ninth Circuit has also determined that Qatar is immune
       from suit. See Broidy Capital Mgmt., LLC v. Qatar, 982 F.3d 582, 586 (9th Cir.
       2020). That means not only that Qatar has “immunity from trial” but also from “the
       attendant burdens of litigation.” Kilburn v. Socialist People’s Libyan Arab
       Jamahiriya, 376 F.3d 1123, 1126 (D.C. Cir. 2004) (quoting Jungquist v. Sheikh
       Sultan Bin Khalifa Al Nahyan, 115 F.3d 1020, 1026 (D.C. Cir. 1997)).


       8. Allaham objects generally to the Requests to the extent they seek information
       contained in documents and correspondence that are protected by principles of
       international comity in light of Qatar’s interest in maintaining the confidentiality of
       information that relates to its governmental policies. See Notice of Interest by Non-
       Party State of Qatar, ECF No. 66 (Oct. 21, 2021); see also Societe Nationale
       Industrielle Aerospatiale v. U.S. Dist. Ct. for S. Dist. Of Iowa, 482 U.S. 522, 546
       (1987).

Brownstein Decl. Ex. 9, General Objections Nos. 7-8.

       Defendant Muzin’s general objections to each of the requests were almost identical to

Allaham’s, and Howard’s were substantively the same.9

       All Defendants also invoked the Vienna Conventions and principles of international

comity in refusing to answer large numbers of specific requests. For example, in response to 23

of the 28 requests for admission that Plaintiffs’ served on Allaham, he responded that he “will

not disclose information regarding his authorized activity for Qatar between August 2017 to July

2018.” See Brownstein Decl. Ex. 8, General Objections 7, 8.

       It is plain that Defendants are simply concocting a never-before-used “lobbyist/public-

relations flack privilege,” to try to withhold huge swaths of relevant and discoverable

information, without any basis in law, history, or common sense.


9
 See, e.g., Brownstein Decl., Ex. 4 [Defendant Muzin’s Responses and Objections to Plaintiffs’
First Requests for Production], General Objections D and E at p. 2 (same); Ex. 1 [Defendant
Howard’s Responses and Objections to Plaintiffs’ First Requests for Production], General
Objection No. 6 at p. 3 (“Howard will not provide documents or information subject to” Qatar’s
“privileges, immunities, and protections provided under the Vienna Conventions [] and
principles of international comity”).

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       Even worse, Defendants’ objections fly in the face of this Court’s rejection of the

unprecedented and groundless “Immunity Protocol” Defendants requested be included in the

Protective Order. In seeking the “Immunity Protocol” in their “emergency” motion regarding the

Protective Order, Defendants originally tried to support their contention that the VCDR protects

materials in the hands of third parties by misrepresenting the expert position of Professor Eileen

Denza. See ECF No. 90-1 at 13 n.9. As Plaintiffs have shown (see ECF No. 92 at 4 n.5, 23-24,

and ECF No. 92-3), Professor Denza’s actual position is the opposite of what Defendants

claimed. Defendants appear now to have given up their (mis)reliance on Denza, and instead

simply cite to the Conventions themselves with no other authority whatsoever, in the hope that

their cursory, ahistorical, and “ludicrous” (see Congress Letter) misreading of the text might

somehow carry the day. It does not.



                                          ARGUMENT

I.     The Information Requested is Not Protected Under the Vienna Conventions or So-
       called Considerations of “International Comity”

       Defendants are withholding discovery materials based on assertions that information

Plaintiffs seek is (a) “absolutely protected from disclosure under the Vienna Conventions, which

provide that the documents and information of a diplomatic mission are ‘inviolable at any time

and wherever they may be,’” and (b) “protected by principles of international comity in light of

Qatar’s interest in maintaining the confidentiality of information that relates to its governmental

policies.” See Brownstein Decl. Ex. 7 [Defendant Allaham’s Responses and Objections to

Plaintiffs’ First Requests for Production]; see also generally Brownstein Decl. Exs. 1, 4, 7, 8.

The requested documents and information in Defendants’ possession, custody or control are in

no way protected under either the Vienna Conventions or principles of international comity.


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       First, nothing in the text of the Vienna Conventions supports the notion that diplomatic

privileges extend to documents that have been disclosed to individuals or entities who are not

part of the diplomatic mission, and that have thereby been taken out of the mission’s “archives”

by such individuals. See generally VCDR; Eileen Denza, Diplomatic Law: Commentary on the

Vienna Convention on Diplomatic Relations 189 (4th ed. 2016) (Brownstein Decl. Ex. 13.)

Article 24 of the VCDR states that “[t]he archives and documents of the mission shall be

inviolable at any time and wherever they may be.” VCDR at Art. 24. Defendants (and Qatar,

see ECF No. 107) rely on the phrase “wherever they may be”10 while ignoring the prerequisite

that in order to be inviolable the archives and documents must first be “of the mission.” In

explicating what exactly this phrase means, it is worth quoting at length Professor Denza, whom

Defendants themselves recognize as the foremost expert on these matters, in a letter she sent to

the U.S. House of Representatives Committee on Government Reform in 2002. Professor Denza

had been asked whether records in possession of lobbyists and public-relations flacks retained by

a foreign embassy were entitled to be regarded as “archives and documents of the

mission…wherever they may be” so as to be protected on the basis of inviolability from

disclosure. Professor Denza responded with an unequivocal “no,” and explained that:


10
   As Plaintiffs’ previously explained, the language “wherever they may be” is targeted primarily
at the protection of documents that may have been “lost or stolen.” See ECF No. 92 at 23-24,
and 92-3, Denza Chapter. Defendants’ and Qatar have recently raised the idea that this also
refers to cyberspace. See ECF No. 105 at 13 and No. 106 at 10. Plaintiffs agree that, for
example, to the extent the mission’s genuinely protected documents are also technically held by
a third-party internet- or computer-server company performing ministerial storage services, then
those documents do not lose protection by virtue of being in cyberspace. But that is a completely
different case from documents intentionally shared with third-party consultants, which all
authorities hold are not entitled to protection. Qatar can notify the third-party companies that
perform ministerial storage tasks for its embassy and consulate that if they receive any subpoena
for the mission’s documents, then they are to notify Qatar, which can then move for a protective
order. But neither Qatar nor Defendants have made any showing that Plaintiffs have subpoenaed
any such storage company.

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       Article 24 of the Vienna Convention on Diplomatic Relations reflects pre-existing
       customary international law, but also goes beyond it. It establishes, for example,
       that archives not situated on mission premises are entitled to inviolability...To be
       entitled to inviolability, however, archives and documents must be ‘of’ the mission.
       The test generally applied is that they must belong to or be in the possession of the
       mission… ‘belonging to or in the possession of the mission’ has been confirmed by
       subsequent practice. These or very similar words appear in a number of agreements
       conferring privileges and immunities on international organisations where the
       context suggests that they were intended to be declaratory of the meaning of Article
       24 of the Vienna Convention on Diplomatic Relations.

       The relevance of the test of ownership or possession to protection as ‘archives and
       documents’ was explored very thoroughly by English courts in 1987 in the context
       of the collapse of the International Tin Council (ITC)…At first instance, Webster,
       J, accepted that if a document was deliberately sent to a third party ‘its archival
       character and its inviolability are lost’. On appeal, Dillon, LJ, maintained that
       documents in the hands of independent experts consulted by the International Tin
       Council ceased to be archives of the organisation. When the case reached the House
       of Lords, the Tin Council conceded that inviolability could not arise ‘with respect
       of any documents held by third parties on loan from the ITC or otherwise as bailees
       or agents for the ITC’. Lord Bridge held that ‘a document communicated to a third
       party by an officer or employee of the ITC with actual authority, express or implied,
       or with ostensible authority, no longer belongs to the ITC and hence no longer
       enjoys inviolability as part of the official archives.’ . . . It was a unanimous
       judgment, and I believe that it would be a persuasive authority in United States
       courts.

Brownstein Decl. Ex. 11, Letter from Eileen Denza, Visiting Professor of Law, Univ. College
London, to Dan Burton, Chairman, House Comm. on Gov’t Reform (Nov. 18, 2002), in
Hearings Before the House Committee on Government Reform, Serial No. 107-83, at 1340–42
(Nov. 18, 2002).

       Congress agreed with Denza and compelled production from Saudi Arabia’s advisors.

See ECF No. 92-3 at 161-162. Four days after Denza’s testimony, the chair of the relevant

committee of the House of Representatives explained to Saudi Arabia that FARA:

       makes clear that the activities of such “propagandists,” including the documents
       they generate, send and receive in the course of those activities, are to be subject to
       the “spotlight of pitiless publicity” so that the American people may be fully
       informed of both the identity of the propagandists and the nature of the activities
       they undertake on behalf of their foreign masters. It is ludicrous to suggest, as you
       and your lawyers do, that when the United States ratified the Vienna Convention
       some 25 years after the enactment of FARA, it intended to shroud in absolute
       secrecy the very same activities of these propagandists.


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Congress Letter, supra (quoting H.R. REP. No. 1381, 75th Cong., 1st Sess. 1-2 (1937)) (see also

Shearson Lehman Bros Inc. v. Maclaine, Watson and Co Ltd; International Tin Council

(Intervener) (No 2) [1988] 1 All ER 116, 124-25 (Eng.) (holding that records provided to third

parties are not protected by the equivalent of Vienna-Convention protections) (Brownstein Decl.

Ex. 14); Order, Broidy Cap. Mgmt. v. Allaham, No. 1:18-mc-00240, ECF No. 4 at 2 (S.D.N.Y.

June 11, 2018) (holding that “neither the FSIA nor the Vienna Conventions protect [Qatar] from

civil discovery collected from [Allaham].”). (Brownstein Decl. Ex. 10.)

       The cases that Defendants cite in their objections are wholly inapplicable. One, Kilburn

v. Socialist People’s Libyan Arab Jamahiriya, 376 F.3d 1123, 1126 (D.C. Cir. 2004) (quoting

Jungquist v. Sheikh Sultan Bin Khalifa Al Nahyan, 115 F.3d 1020, 1026 (D.C. Cir. 1997)), deals

with the immunities of foreign sovereign states themselves under the FSIA; the other, Societe

Nationale Industrielle Aerospatiale v. U.S. Dist. Ct. for S. Dist. of Iowa, 482 U.S. 522, 546

(1987), deals with discovery taken against a foreign sovereign state itself under the Hague

Evidence Convention. Neither dealt with claims by public-relations flacks and lobbyists that

discovery in their possession were somehow entitled to protection under the Vienna

Conventions.

       Likewise, particularly in light of the existing law and separate frameworks established by

the Vienna Conventions and FARA (as well as their explicit disclosure requirements),

Defendants’ unmoored and unsupported appeal to vague “principles of international comity” is

entirely unavailing. As this Court has made clear, the decision of whether to extend immunity as

an act of comity was historically a job for the Executive Branch, and under the State Department

test, these Defendants would not be granted immunity. ECF No. 51 at 14. Nor would their

documents. Qatar’s own agreements with its contractors expressly recognize that any



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“documents, information, or communications” “received” by them are subject to being disclosed

“as required by law.” See Broidy Cap. Mgmt. LLC, et al., v. State of Qatar, et al., No. 2:18-cv-

02421-JFW-E (C.D. Cal.), ECF No. 88 at 9; Brownstein Decl. Ex. 15. Both Qatar and

Defendants have always known that documents and information Qatar puts into the custody of

third-party agents are not “inviolable” and are subject to discovery, and their contracts, with

these explicit terms, appear in Defendants’ FARA disclosures.



II.    Congress Intended “Non-Diplomatic” Foreign Agents to be bound by the
       Obligations of FARA, Not the Vienna Conventions

       Diplomatic immunity under the VCDR applies to diplomatic agents of the sending

country’s missions. See VCDR, prelude (“Recalling that peoples of all nations from ancient

times have recognized the status of diplomatic agents), and Art. 1 (clarifying that a “diplomatic

agent” is the “head of the mission or a member of the diplomatic staff of the mission”). 11

FARA, as evidenced by the diplomatic exemption in § 613 and confirmed by the 1965 Senate

Report, was specifically designed to cover the conduct of “nondiplomatic agents,” meaning

Americans engaged by foreign powers to influence U.S. policies or public opinion – like

defendants. Brownstein Decl. Ex. 17, S. Rep. No. 89–143, 89th Cong., 1st Sess. (1965) (the

“FARA Report”) at 3 (emphasis added)). As Congress originally made clear, FARA was passed

to:

        publicize the nature of subversive or other similar activities of such foreign
        propagandists, so that the American people may know those who are engaged in
        this country by foreign agencies to spread doctrines alien to our democratic form


11
  The 1965 House Report on amendments to the VCDR also made clear that “it has long been
the practice of the United States neither to send nor to recognize as diplomatic officers persons
who are nationals or residents of the receiving state.” Brownstein Decl. Ex. 16, S. Exec. Rep.
No. 6, 89th Cong., 1st Sess. (1965) at 7.

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        of government, or propaganda for the purpose of influencing American public
        opinion on a political question.

H. Rep. 1381, 75th Cong., 1st Sess. (1937). The 1965 FARA Report placed great emphasis on

Congress’s intent that the detailed contents in FARA’s Registration and Supplemental

Statements should “be given wide distribution” in order to inform the public about the range of

actions undertaken by foreign agents. Id. at 1, 5. The FARA Report also noted that the main

purpose of the bill is “to protect the interests of the United States by requiring complete public

disclosure by persons acting for or in the interests of foreign principals where their activities are

political in nature or border on the political.” Id. at 1 (emphasis added). See also 22 U.S. Code

§ 611(o). Crucially, with respect to that phrase, the FARA Report added that, “It is the

committee’s understanding that the phrase refers to matters which . . . in the international

context may be called questions concerning a country’s foreign relations.” Id. at 9) (emphasis

added). This directly contradicts Defendants’ contention that the Vienna Conventions somehow

protect from disclosure materials that “relate to the conduct by Qatar of its foreign policy.” In

this regard, it is plain that the overarching purpose of the hack-and-smear operation funded by

Qatar alleged in the FAC was to discredit and silence Qatar’s critics and thereby “influence

American public opinion,” supra, precisely the kind of activity FARA was enacted to address.

Thus, any documents or other evidence relating to the hack-and-smear would be precisely the

type of materials subject to the jurisdiction of FARA – and thus not covered by the VCDR.

       Under FARA, all registrants must disclose, among other things, all written agreements in

place with the foreign principal, a statement of the registrant’s business, and a statement of the

nature of the work the registrant performs for the foreign principal, including a detailed

disclosure documenting all interactions with government officials or journalists. 22 U.S.C. §

612(a). Of particular relevance to this case, the FARA Report also spelled out Congress’s intent

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that registered agents must disclose non-financial incentives offered to journalists. The FARA

Report discusses a “practice among some agents of giving away valuable films, photographs,

articles, exclusive interviews, etc., to the mass media and distributors for the purpose of

inducing the recipient to distribute them further.” (Brownstein Decl. Ex. 16 at 10.) No specific

language was added to the new legislation addressing this type of conduct, however, “because it

is the committee’s belief that under existing law the disposition of such ‘things of value * * *

disposed of by the registrant’ must be reported in detail…[with] that degree of specificity

necessary to permit meaningful public evaluation of each of the significant steps taken to

achieve the purposes of the agency.” To be clear, Congressional intent held that all forms of

compensation offered to journalists and media outlets – whether financial or otherwise (such as

exclusivity or merely providing pre-packaged hacked materials) – could fairly be categorized as

“things of value” given “for the purpose of inducing the recipient to distribute them further.”

       In addition, a FARA registrant must keep “such books of account and other records with

respect to all his activities . . . as the Attorney General, having due regard for the national

security and the public interest, may by regulation prescribe[.]” 22 U.S.C. § 615 (emphasis

added). Department of Justice regulations specify that registrants must keep and preserve,

among other things, “correspondence, memoranda, cables, telegrams, teletype messages, and

other written communications to and from all foreign principals and all other persons, relating

to the registrant’s activities on behalf of, or in the interest of any of his foreign principals.” 28

C.F.R. § 5.500(a)(1) (emphasis added). The registrant must also keep “[a]ll correspondence,

memoranda, cables, telegrams, teletype messages, and other written communications to and

from all persons, other than foreign principals, relating to the registrant’s political activity, or

relating to political activity on the part of any of the registrant’s foreign principals.” 28 C.F.R.



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§ 5.500(a)(2). All of these records “shall be open at all reasonable times to the inspection of

any official charged with the enforcement of” FARA. 22 U.S.C. § 615. The Justice

Department has frequently exercised its rights under 22 U.S.C. § 615 to obtain and inspect the

records of individuals and entities registered under FARA. See Emerson v. Department of

Justice, 603 F. Supp. 459, 462 (D.D.C. 1985). The documents sought by Plaintiffs are required

to be preserved and open for inspection, and the DOJ makes such information publicly

available. They are certainly and demonstrably not “inviolable” under the Vienna

Conventions.

       The absurdity of defendants’ position is made even clearer by considering the

ramifications of their argument. If Defendants are correct, foreign governments could employ

U.S. citizens to engage in any number of highly illegal acts to change U.S. policies and sway

public opinion, and then cloak all documents about that criminal enterprise in diplomatic

immunity. Not only would that be directly counter to the fundamental purpose of the Vienna

Convention, it would also eviscerate FARA. Such a position is, in the words of the U.S. House

Committee on Government Reform, “ludicrous.” Id. at 1.

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court grant its Motion

to Compel Defendants to answer all relevant discovery requests, and to affirm that the

documents and information in the hands of Defendants are not immune from discovery under

either the Vienna Conventions or any principles of international comity.




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Dated: January 24, 2022               Respectfully submitted,

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